8:13-cr-00043-JMG-FG3   Doc # 222   Filed: 12/31/13   Page 1 of 1 - Page ID # 584




              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,                              8:13CR43
     vs.
                                                         ORDER
ALDOMAR PEREZ,
                Defendant.


     IT IS ORDERED that:

     1.    The defendant's unopposed Motion to Continue Sentencing
           Hearing (filing 221) is granted.

     2.    Defendant Aldomar Perez's sentencing is continued to Friday,
           January 24, 2014, at 3:00 p.m., before the undersigned United
           States District Judge, in Courtroom 1 (Special Proceedings),
           Roman L. Hruska Federal Courthouse, 111 South 18th Plaza,
           Omaha, Nebraska. The defendant shall be present at the hearing.

     Dated this 31st day of December, 2013.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
